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                                                                        USDC SDNY
UNITED STATES DISTRICT COURT                                            DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                           ELECTRONICALLY FILED
 ------------------------------------------------------------------ X   DOC #: _________________
                                                                    :   DATE FILED: March 20, 2018
 DR. ALAN SACERDOTE, et al.,                                        :
                                                                    :
                                              Plaintiffs,           :
                                                                    :
                            -v-                                     :         16-cv-6284 (KBF)
                                                                    :
 NEW YORK UNIVERSITY,                                               :              ORDER
                                                                    :
                                              Defendant.            :
                                                                    :
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KATHERINE B. FORREST, District Judge:

        The Court has reviewed Columbia University’s motion to intervene and

unseal documents, as well as the submissions from plaintiffs, defendants, and

interested parties Teachers Insurance and Annuity Association of America

(“TIAA”), The Vanguard Group, Inc. (“Vanguard”), and Cammack Retirement Group

Inc. (“Cammack”). (ECF Nos. 178, 187, 214, 215, 217, 218, 219.)

        The Court intends to unseal the vast majority of the filings. Plaintiffs and

Vanguard have indicated, without specification, that some information may still

need to remain under seal. Any party wishing to have truly confidential
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information redacted must submit a list of proposed redactions to the Court not

later than March 21, 2018 at 9:00 a.m.1

          SO ORDERED.

Dated:           New York, New York
                 March 20, 2018

                                                       ____________________________________
                                                            KATHERINE B. FORREST
                                                            United States District Judge




1   Cammack’s list submitted at ECF No. 219 need not be refiled.
                                                   2
